                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION
______________________________________________________________________________

R.K., et al.,                                   )
                                                )
       Plaintiffs,                              )
                                                )
v.                                              )     No. 3:21-cv-00725
                                                )     Chief Judge Crenshaw
GOVERNOR BILL LEE, in his official              )     Magistrate Judge Frensley
capacity as GOVERNOR OF TENNESSEE, et al.,      )
                                                )
       Defendants.                              )
______________________________________________________________________________

                NOTICE OF DEFENDANT GOVERNOR BILL LEE
             THAT TENATIVE SETTLEMENT WAS NOT APPROVED
             IN ACCORDANCE WITH TENN. CODE ANN. § 20-13-103
______________________________________________________________________________

        On July 18, 2022, Plaintiffs R.K. and W.S., by and through their parents, and Defendant

Bill Lee, Governor of the State of Tennessee, filed a Joint Notice of Settlement (ECF No. 127.) in

this cause.     The Joint Notice advised the Court that those parties had reached a tentative

agreement to settle Plaintiffs’ request for attorney’s fees and costs and to dismiss Plaintiffs’ claims

against the Governor.     The Joint Notice stated that the tentative agreement was subject to the

approval of the parties of mutually agreeable settlement documentation and the approval of the

appropriate State of Tennessee constitutional officials in accordance with Tenn. Code Ann. § 20-

13-103. The purpose of this Notice is to advise the Court that the settlement was not so approved.




Case 3:21-cv-00725          Document 129         Filed 09/13/22      Page 1 of 3 PageID #: 3227
                                                 Respectfully submitted,

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                                                 Counsel for Defendant Governor Bill Lee



                                    CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2022, a copy of the foregoing notice and attached
transcript was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s electronic filing system.

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                                                    2
Case 3:21-cv-00725           Document 129          Filed 09/13/22       Page 2 of 3 PageID #: 3228
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                                          3
Case 3:21-cv-00725    Document 129       Filed 09/13/22     Page 3 of 3 PageID #: 3229
